                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


  JEREMIAH M., HANNAH M. and
  HUNTER M. by their next friend Lisa
  Nicolai; MARY B. and CONNOR B.                  Case No. 3:22-cv-00129-JMK
  by their next friend Charles Ketcham;
  DAVID V., GEORGE V.,
  LAWRENCE V., KAREN V., and                        ORDER GRANTING
  DAMIEN V. by their next friend                   UNOPPOSED MOTION
  Michelle Caldwell; and RACHEL T.,                TO CORRECT RECORD
  ELEANOR T. and GAYLE T. by their
  next friend Rebecca Fahnestock,
  individually and on behalf of all other
  similarly situated,

                       Plaintiffs,

         vs.

  ADAM CRUM, Director, Alaska
  Department of Health and Social
  Services, in his official capacity; KIM
  GUAY, Director, Office of Children’s
  Services, in her official capacity;
  ALASKA DEPARTMENT OF
  HEALTH AND SOCIAL SERVICES;
  and ALASKA OFFICE OF
  CHILDREN’S SERVICES,

                       Defendant.




               Before the Court at Docket 12 is Plaintiffs’ Unopposed Motion to Correct

the Record (the “Motion”). In their Motion, Plaintiffs clarify that they did not intend to


        Case 3:22-cv-00129-JMK Document 15 Filed 06/28/22 Page 1 of 2
condition an agreement to extend Defendants’ deadline to respond to the Complaint on the

receipt of records from the Office of Children’s Services. 1 The Court appreciates the

Parties working cooperatively to clear up this confusion and accepts that it was given an

incorrect impression of Plaintiffs’ position regarding Defendants’ Motion for an Extension

(Docket 9-2) due to a miscommunication between the Parties.

                 Accordingly, the Court having considered the Motion, IT IS HEREBY

ORDERED that the Court shall take notice of the supplemental presentation of facts as

reflected in the Motion. No further action of the Parties or the Court is required. The

Parties shall proceed as stated in the Court’s Order Granting Defendants’ Motion to

Expedite at Docket 10.

                 IT IS SO ORDERED this 28th day of June, 2022, at Anchorage, Alaska.


                                                         /s/ Joshua M. Kindred
                                                        JOSHUA M. KINDRED
                                                       United States District Judge




        1
            Docket 12 at 3.

Jeremiah M., et al v. Crum, et al.                                Case No. 3:22-cv-00129-JMK
Order Granting Unopposed Motion to Correct Record                                      Page 2
            Case 3:22-cv-00129-JMK Document 15 Filed 06/28/22 Page 2 of 2
